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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )          4:05CR3060-2
                                            )
                    Plaintiff,              )
                                            )
      vs.                                   )
                                            )          ORDER
FERNANDO NUNEZ,                             )
                                            )
                    Defendant.              )

      On the court’s own motion,

       IT IS ORDERED that the defendant’s sentencing is rescheduled to 12:30 p.m. on
Tuesday, March 20, 2007, before the undersigned United States district judge, in Courtroom
No. 1, Robert V. Denney Federal Building and United States Courthouse, 100 Centennial
Mall North, Lincoln, Nebraska. The defendant shall be present unless excused by the court.

      February 27, 2007.                 BY THE COURT:

                                         s/ Richard G. Kopf
                                         United States District Judge
